8:05-cr-00094-LSC-FG3         Doc # 186      Filed: 03/27/06    Page 1 of 1 - Page ID # 667




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
              vs.                               )                 8:05CR94
                                                )
JUAN GARCIA,                                    )          SCHEDULING ORDER
                                                )
                     Defendant.                 )


       IT IS ORDERED that the following are set for hearing on April 14, 2006 at 9:00 a.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

       - Motion to Suppress [183] and Motion to Suppress [184] filed by the defendant.

       Since this is a criminal case, the defendant must be present, unless excused by the
Court. An interpreter will be provided by the Court.

       DATED this 27th day of March, 2006.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
